                 Case 23-50393-LSS     Doc 121     Filed 12/05/23   Page 1 of 22




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

 In re:

 NEWAGE, INC., et al.                            Chapter 11
                                                 Case No. 22-10819 (LSS)
       Debtors.                                  (Jointly Administered)
 ____________________________________/


 NAI LIQUIDATION TRUST, by and
 through its Liquidation Trustee, STEVEN
 BALASIANO,

           Plaintiff,
                                                 Adv. Proc. No. 23-50393 (LSS)
 v.

 FREDERICK W. COOPER, MARK
 WILSON, BRENT WILLIS, TIMOTHY
 HAAS, REGINALD KAPTEYN, ALICIA
 SYRETT, GREGORY GOULD, CHUCK
 ENCE, CARL AURE, KEVIN MANION,
 ED BRENNAN, AMY KUZDOWICZ,
 GREG FEA, CRAIG THIBODEAU,
 KWIKCLICK, INC., JEFFREY YATES,
 RILEY TIMMER, COOPER FAMILY
 INVESTMENTS, LP, YATES FAMILY
 INVESTMENTS, LLLP, WILSON
 FAMILY HOLDINGS, LLC, TIMMER
 FAMILY INVESTMENTS, LLLP,
 CHANDLER FAMILY INVESTMENTS
 2.0, LLC, IAN CHANDLER, BRADY
 COOPER, WENHAN ZHANG, and TYLER
 B. JONES,

       Defendants.
 ____________________________________/


      DEFENDANT, TYLER B. JONES’S ANSWER AND AFFIRMATIVE DEFENSES

          Defendant, Tyler B. Jones (“Mr. Jones”), by and through his undersigned counsel,

hereby answers and raises his affirmative defenses to the Complaint of Plaintiff, NAI



DE:4853-7721-5381.1 09244.001                  1
                 Case 23-50393-LSS        Doc 121      Filed 12/05/23    Page 2 of 22




Liquidation Trust, by and through its Liquidation Trustee, Steven Balasiano, (“Plaintiff” or the

“Trust”), as follows:

                                              ANSWER

         1.        Denied.

         2.        Defendant was not employed by the Debtor during the alleged years, and is without

knowledge, and therefore denied.

         3.        Without knowledge and therefore denied.

         4.        Without knowledge and therefore denied.

         5.        Without knowledge and therefore denied.

         6.        Without knowledge and therefore denied.

         7.        Without knowledge and therefore denied

         8.        Without knowledge and therefore denied.

         9.        Without knowledge and therefore denied.

         10.       Without knowledge and therefore denied.

         11.       Without knowledge and therefore denied.

         12.       Without knowledge and therefore denied.

         13.       Without knowledge and therefore denied.

         14.       Without knowledge and therefore denied.

         15.       Without knowledge and therefore denied.

         16.       Denied.

         17.       Without knowledge and therefore denied.

         18.       Admitted for jurisdictional purposes only. Otherwise denied.

         19.       Admitted for venue purposes only. Otherwise denied.




DE:4853-7721-5381.1 09244.001                      2
                 Case 23-50393-LSS        Doc 121      Filed 12/05/23   Page 3 of 22




         20.       Admitted for jurisdictional purposes only. Otherwise denied.

         21.       Admitted for jurisdictional purposes only. Otherwise denied.

         22.       Admitted for jurisdictional purposes only. Otherwise denied.

         23.       Defendant confirms its consent pursuant to Federal Rule of Bankruptcy Procedure

7008 and Rule 7008-1 of Bankruptcy Local Rules for the United States Bankruptcy Court for the

District of Delaware.

         24.       Admitted.

         25.       Admitted.

         26.       Admitted.

         27.       Admitted.

         28.       Admitted.

         29.       Admitted.

         30.       Admitted.

         31.       Admitted.

         32.       Admitted.

         33.       Admitted.

         34.       Without knowledge and therefore denied.

         35.       Without knowledge and therefore denied.

         36.       Without knowledge and therefore denied.

         37.       Without knowledge and therefore denied.

         38.       Admitted.

         39.       Without knowledge and therefore denied.

         40.       Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                      3
                 Case 23-50393-LSS       Doc 121      Filed 12/05/23   Page 4 of 22




         41.       Without knowledge and therefore denied.

         42.       Without knowledge and therefore denied.

         43.       Without knowledge and therefore denied.

         44.       Without knowledge and therefore denied.

         45.       Without knowledge and therefore denied.

         46.       Without knowledge and therefore denied.

         47.       Without knowledge and therefore denied.

         48.       Without knowledge and therefore denied.

         49.       Without knowledge and therefore denied.

         50.       Without knowledge and therefore denied.

         51.       Without knowledge and therefore denied.

         52.       Without knowledge and therefore denied.

         53.       Without knowledge and therefore denied.

         54.       Without knowledge and therefore denied.

         55.       Without knowledge and therefore denied.

         56.       Without knowledge and therefore denied.

         57.       Denied.

         58.       Without knowledge and therefore denied.

         59.       Admitted.

         60.       Admitted.

         61.       Admitted.

         62.       Denied.

         63.       Admitted.




DE:4853-7721-5381.1 09244.001                     4
                 Case 23-50393-LSS       Doc 121      Filed 12/05/23   Page 5 of 22




         64.       Without knowledge and therefore denied.

         65.       Admitted.

         66.       Admitted.

         67.       Without knowledge and therefore denied.

         68.       Admitted.

         69.       Without knowledge and therefore denied.

         70.       Admitted.

         71.       Without knowledge and therefore denied.

         72.       Defendant is not a D&O Defendant and therefore denied.

         73.       Defendant is not a D&O Defendant and therefore denied.

         74.       Defendant is not a D&O Defendant and therefore denied.

         75.       Admitted.

         76.       Admitted.

         77.       Admitted.

         78.       Admitted.

         79.       Admitted.

         80.       Admitted.

         81.       Admitted.

         82.       Admitted.

         83.       Without knowledge and therefore denied.

         84.       Without knowledge and therefore denied.

         85.       Without knowledge and therefore denied.

         86.       Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                     5
                 Case 23-50393-LSS       Doc 121      Filed 12/05/23   Page 6 of 22




         87.       Without knowledge and therefore denied.

         88.       Without knowledge and therefore denied.

         89.       Admitted.

         90.       Without knowledge and therefore denied.

         91.       Without knowledge and therefore denied.

         92.       Without knowledge and therefore denied.

         93.       Denied.

         94.       Without knowledge and therefore denied.

         95.       Without knowledge and therefore denied.

         96.       Without knowledge and therefore denied.

         97.       Without knowledge and therefore denied.

         98.       Without knowledge and therefore denied.

         99.       Without knowledge and therefore denied.

         100.      Without knowledge and therefore denied.

         101.      Without knowledge and therefore denied.

         102.      Without knowledge and therefore denied.

         103.      Without knowledge and therefore denied.

         104.      Without knowledge and therefore denied.

         105.      Without knowledge and therefore denied.

         106.      Without knowledge and therefore denied.

         107.      Without knowledge and therefore denied.

         108.      Without knowledge and therefore denied.

         109.      Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                     6
                 Case 23-50393-LSS       Doc 121      Filed 12/05/23   Page 7 of 22




         110.      Without knowledge and therefore denied.

         111.      Without knowledge and therefore denied.

         112.      Without knowledge and therefore denied.

         113.      Without knowledge and therefore denied.

         114.      Without knowledge and therefore denied.

         115.      Without knowledge and therefore denied.

         116.      Without knowledge and therefore denied.

         117.      Without knowledge and therefore denied.

         118.      Without knowledge and therefore denied.

         119.      Without knowledge and therefore denied.

         120.      Without knowledge and therefore denied.

         121.      Without knowledge and therefore denied.

         122.      Without knowledge and therefore denied.

         123.      Without knowledge and therefore denied.

         124.      Without knowledge and therefore denied.

         125.      Without knowledge and therefore denied.

         126.      Without knowledge and therefore denied.

         127.      Without knowledge and therefore denied.

         128.      Without knowledge and therefore denied.

         129.      Without knowledge and therefore denied.

         130.      Without knowledge and therefore denied.

         131.      Without knowledge and therefore denied.

         132.      Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                     7
                 Case 23-50393-LSS       Doc 121      Filed 12/05/23   Page 8 of 22




         133.      Without knowledge and therefore denied.

         134.      Without knowledge and therefore denied.

         135.      Without knowledge and therefore denied.

         136.      Without knowledge and therefore denied.

         137.      Without knowledge and therefore denied.

         138.      Without knowledge and therefore denied.

         139.      Without knowledge and therefore denied.

         140.      Without knowledge and therefore denied.

         141.      Without knowledge and therefore denied.

         142.      Without knowledge and therefore denied.

         143.      Without knowledge and therefore denied.

         144.      Without knowledge and therefore denied.

         145.      Without knowledge and therefore denied.

         146.      Without knowledge and therefore denied.

         147.      Without knowledge and therefore denied.

         148.      Without knowledge and therefore denied.

         149.      Without knowledge and therefore denied.

         150.      Without knowledge and therefore denied.

         151.      Without knowledge and therefore denied.

         152.      Without knowledge and therefore denied.

         153.      Without knowledge and therefore denied.

         154.      Without knowledge and therefore denied.

         155.      Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                     8
                 Case 23-50393-LSS       Doc 121      Filed 12/05/23   Page 9 of 22




         156.      Without knowledge and therefore denied.

         157.      Without knowledge and therefore denied.

         158.      Without knowledge and therefore denied.

         159.      Without knowledge and therefore denied.

         160.      Admitted.

         161.      Without knowledge and therefore denied.

         162.      Denied.

         163.      Admitted.

         164.      Admitted.

         165.      Admitted

         166.      Without knowledge and therefore denied.

         167.      Without knowledge and therefore denied.

         168.      Without knowledge and therefore denied.

         169.      Without knowledge and therefore denied.

         170.      Without knowledge and therefore denied.

         171.      Without knowledge and therefore denied.

         172.      Without knowledge and therefore denied.

         173.      Without knowledge and therefore denied.

         174.      Without knowledge and therefore denied.

         175.      Denied.

         176.      Without knowledge and therefore denied.

         177.      Without knowledge and therefore denied.

         178.      Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                     9
                 Case 23-50393-LSS      Doc 121       Filed 12/05/23   Page 10 of 22




         179.      Without knowledge and therefore denied.

         180.      Without knowledge and therefore denied.

         181.      Without knowledge and therefore denied.

         182.      Without knowledge and therefore denied.

         183.      Without knowledge and therefore denied.

         184.      Denied.

         185.      Denied.

         186.      Denied.

         187.      Without knowledge and therefore denied.

         188.      Without knowledge and therefore denied.

         189.      Without knowledge and therefore denied.

         190.      Denied.

         191.      Admitted.

         192.      Without knowledge and therefore denied.

         193.      Without knowledge and therefore denied.

         194.      Without knowledge and therefore denied.

         195.      Admitted.

         196.      Without knowledge and therefore denied.

         197.      Admitted.

         198.      Without knowledge and therefore denied.

         199.      Without knowledge and therefore denied.

         200.      Without knowledge and therefore denied.

         201.      Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                    10
                 Case 23-50393-LSS      Doc 121       Filed 12/05/23   Page 11 of 22




         202.      Without knowledge and therefore denied.

         203.      Denied.

         204.      Without knowledge and therefore denied.

         205.      Without knowledge and therefore denied.

         206.      Without knowledge and therefore denied.

         207.      Without knowledge and therefore denied.

         208.      Without knowledge and therefore denied.

         209.      Denied.

         210.      Without knowledge and therefore denied.

         211.      Without knowledge and therefore denied.

         212.      Without knowledge and therefore denied.

         213.      Without knowledge and therefore denied.

         214.      Without knowledge and therefore denied.

         215.      Without knowledge and therefore denied.

         216.      Without knowledge and therefore denied.

         217.      Without knowledge and therefore denied.

         218.      Without knowledge and therefore denied.

         219.      Without knowledge and therefore denied.

         220.      Without knowledge and therefore denied.

         221.      Without knowledge and therefore denied.

         222.      Without knowledge and therefore denied.

         223.      Without knowledge and therefore denied.

         224.      Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                    11
                 Case 23-50393-LSS      Doc 121       Filed 12/05/23   Page 12 of 22




         225.      Without knowledge and therefore denied.

         226.      Without knowledge and therefore denied.

         227.      Without knowledge and therefore denied.

         228.      Without knowledge and therefore denied.

         229.      Without knowledge and therefore denied.

         230.      Without knowledge and therefore denied.

         231.      Without knowledge and therefore denied.

         232.      Without knowledge and therefore denied.

         233.      Without knowledge and therefore denied.

         234.      Without knowledge and therefore denied.

         235.      Without knowledge and therefore denied.

         236.      Without knowledge and therefore denied.

         237.      Admitted.

         238.      Without knowledge and therefore denied.

         239.      Without knowledge and therefore denied.

         240.      Without knowledge and therefore denied.

         241.      Without knowledge and therefore denied.

         242.      Without knowledge and therefore denied.

         243.      Without knowledge and therefore denied.

         244.      Without knowledge and therefore denied.

         245.      Without knowledge and therefore denied.

         246.      Without knowledge and therefore denied.

         247.      Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                    12
                 Case 23-50393-LSS      Doc 121       Filed 12/05/23   Page 13 of 22




         248.      Without knowledge and therefore denied.

         249.      Without knowledge and therefore denied.

         250.      Admitted.

         251.      Without knowledge and therefore denied.

         252.      Without knowledge and therefore denied.

         253.      Without knowledge and therefore denied.

         254.      Without knowledge and therefore denied.

         255.      Without knowledge and therefore denied.

         256.      Admitted.

         257.      Without knowledge and therefore denied.

         258.      Without knowledge and therefore denied.

         259.      Without knowledge and therefore denied.

         260.      Without knowledge and therefore denied.

         261.      Without knowledge and therefore denied.

         262.      Without knowledge and therefore denied.

         263.      Without knowledge and therefore denied.

         264.      Without knowledge and therefore denied.

         265.      Without knowledge and therefore denied.

         266.      Without knowledge and therefore denied.

         267.      Without knowledge and therefore denied.

         268.      Without knowledge and therefore denied.

         269.      Without knowledge and therefore denied.

         270.      Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                    13
                 Case 23-50393-LSS      Doc 121       Filed 12/05/23   Page 14 of 22




         271.      Without knowledge and therefore denied.

         272.      Without knowledge and therefore denied.

         273.      Without knowledge and therefore denied.

         274.      Without knowledge and therefore denied.

         275.      Without knowledge and therefore denied.

         276.      Without knowledge and therefore denied.

         277.      Without knowledge and therefore denied.

         278.      Without knowledge and therefore denied.

         279.      Without knowledge and therefore denied.

         280.      Without knowledge and therefore denied.

         281.      Without knowledge and therefore denied.

         282.      Without knowledge and therefore denied.

         283.      Without knowledge and therefore denied.

         284.      Without knowledge and therefore denied.

         285.      Without knowledge and therefore denied.

         286.      Admitted.

         287.      Without knowledge and therefore denied.

         288.      Without knowledge and therefore denied.

         289.      Without knowledge and therefore denied.

         290.      Without knowledge and therefore denied.

         291.      Without knowledge and therefore denied.

         292.      Without knowledge and therefore denied.

         293.      Without knowledge and therefore denied.




DE:4853-7721-5381.1 09244.001                    14
                 Case 23-50393-LSS      Doc 121       Filed 12/05/23   Page 15 of 22




         294.      Without knowledge and therefore denied.

         295.      Without knowledge and therefore denied.

                                        COUNT ONE
                                 BREACH OF FIDUCIARY DUTY
                                       (Against Willis)

         296-304. Count One of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count One.

                                          COUNT TWO
                                 BREACH OF FIDUCIARY DUTY
                                   (Against Cooper and Wilson)

         305-313. Count Two of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Two.

                                          COUNT THREE
                                 BREACH OF FIDUCIARY DUTY
                                (Against All Other D&O Defendants)

         314-322. Count Three of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Three.

                                          COUNT FOUR
                    AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                     (Against Zhang, B. Cooper, Kwikclick and the Ariix Sellers)

         323-328. Count Four of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Four.




DE:4853-7721-5381.1 09244.001                    15
                 Case 23-50393-LSS     Doc 121       Filed 12/05/23   Page 16 of 22




                                         COUNT FIVE
                                WASTE OF CORPORATE ASSETS
                                 (Against the D&O Defendants)

         329-332. Count Five of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Five.

                                   COUNT SIX
               BREACH OF CONTRACT—AMENDED MERGER AGREEMENT
                             (Against the Ariix Sellers)

         333-339. Count Six of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Six.


                                       COUNT SEVEN
                 BREACH OF CONTRACT — AMENDED MERGER AGREEMENT
                         (Against the Ariix Sellers Other than Cooper)

         340-346. Count Seven of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Seven.

                                        COUNT EIGHT
                                      INDEMNIFICATION
                                    (Against the Ariix Sellers)

         347-351. Count Eight of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Eight.




DE:4853-7721-5381.1 09244.001                   16
                 Case 23-50393-LSS    Doc 121       Filed 12/05/23   Page 17 of 22




                            COUNT NINE
  BREACH OF CONTRACT - COVENANT NOT TO COMPETE AND NOT TO SOLICIT
                           (Against Cooper)

         352-360. Count Nine of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Nine.


                                   COUNT TEN
             FRAUDULENT INDUCEMENT — AMENDED MERGER AGREEMENT
                             (Against the Ariix Sellers)

         361-368. Count Ten of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Ten.

                                      COUNT ELEVEN
                      FRAUDULENT INDUCEMENT - LICENSE AGREEMENT
                              (Against the Kwikclick Defendants)

         369-375. Count Eleven of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Eleven.

                                     COUNT TWELVE
                                DECLARATORY JUDGMENT
                                    (Against Kwikclick)

         376-381. Count Twelve of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Twelve.




DE:4853-7721-5381.1 09244.001                  17
                 Case 23-50393-LSS       Doc 121       Filed 12/05/23   Page 18 of 22




                                      COUNT THIRTEEN
                          BREACH OF CONTRACT - LICENSE AGREEMENT
                                      (Against Kwikclick)

         382-388. Count Thirteen of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Thirteen.

                                       COUNT FOURTEEN
                                              FRAUD
                                    (Against Cooper and Wilson)

         389-395. Count Fourteen of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Fourteen.

                                        COUNT FIFTEEN
                                       CIVIL CONSPIRACY
                (Against the Kwikclick Defendants, the Ariix Sellers, Willis and Jones)

         396.      Defendant restates and incorporates Answers 1 through 295.

         397.      Denied.

         398.      Denied.

         399.      Without knowledge and therefore denied.

         400.      Without knowledge and therefore denied.

         401.      Denied.

         402.      Without knowledge and therefore denied.

         403.      Denied.

         404.      Without knowledge and therefore denied.

         405.      Denied.




DE:4853-7721-5381.1 09244.001                     18
                 Case 23-50393-LSS     Doc 121       Filed 12/05/23   Page 19 of 22




                                    COUNT SIXTEEN
               TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS
                         (Against Kwikclick, Zhang and B. Cooper)

         406-411. Count Sixteen of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Sixteen.

                                  COUNT SEVENTEEN
               TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS
                            (Against the Kwikclick Defendants)

         412-418. Count Seventeen of the Complaint does not seek any relief against Mr. Jones,

and therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Seventeen.

                                 COUNT EIGHTEEN
     TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                (Against the Kwikclick Defendants and the Ariix Sellers)

         419-423. Count Eighteen of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Eighteen.

                                      COUNT NINETEEN
                                     CIVIL CONSPIRACY
                                  (Against the D&O Defendants)

         424-427. Count Nineteen of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Nineteen.




DE:4853-7721-5381.1 09244.001                   19
                 Case 23-50393-LSS        Doc 121       Filed 12/05/23   Page 20 of 22




                                          COUNT TWENTY
                                             CONVERSION
                         (Against the Kwikclick Defendants and the Ariix Sellers)

         428-434. Count Twenty of the Complaint does not seek any relief against Mr. Jones, and

therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Twenty.

                                     COUNT TWENTY-ONE
                        VIOLATION OF THE DEFEND TRADE SECRETS ACT
                                (Against the Kwikclick Defendants)

         435-447. Count Twenty-One of the Complaint does not seek any relief against Mr. Jones,

and therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Twenty-One.

                         COUNT TWENTY-TWO
   MISAPPROPRIATION OF TRADE SECRETS (UTAH UNIFORM TRADE SECRETS
                                   ACT)
                     (Against the Kwikclick Defendants)

         448-459. Count Twenty-Two of the Complaint does not seek any relief against Mr. Jones,

and therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Twenty-Two.

                                     COUNT TWENTY-THREE
                                    DECLARATORY JUDGMENT
                                         (Against Cooper)

         460-465. Count Twenty-Three of the Complaint does not seek any relief against Mr.

Jones, and therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies

all allegations in Count Twenty-Three.




DE:4853-7721-5381.1 09244.001                      20
                 Case 23-50393-LSS     Doc 121      Filed 12/05/23   Page 21 of 22




                                   COUNT TWENTY-FOUR
                                    UNJUST ENRICHMENT
                                (Against the Kwikclick Defendants)

         466-472. Count Twenty-Four of the Complaint does not seek any relief against Mr. Jones,

and therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Twenty-Four.

                                    COUNT TWENTY-FIVE
                                    UNJUST ENRICHMENT
                                  (Against the D&O Defendants)

         473-476. Count Twenty-Five of the Complaint does not seek any relief against Mr. Jones,

and therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Twenty-Five.

                             COUNT TWENTY-SIX
           TURN-OVER OF PROPERTY OF THE ESTATE UNDER 11 U.S.C. § 542(a)
                              (Against Kwikclick)

         477-481. Count Twenty-Six of the Complaint does not seek any relief against Mr. Jones,

and therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Twenty-Six.

                            COUNT TWENTY-SEVEN
  AVOIDANCE AND RECOVERY OF ACTUAL FRAUDULENT TRANSFER UNDER 11
           U.S.C. §§ 548(a)(1)(A), 550 and APPLICABLE STATE LAW
                                (Against Kwikclick)

         482-490. Count Twenty-Seven of the Complaint does not seek any relief against Mr.

Jones, and therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies

all allegations in Count Twenty-Seven.




DE:4853-7721-5381.1 09244.001                  21
                 Case 23-50393-LSS         Doc 121       Filed 12/05/23   Page 22 of 22




                           COUNT TWENTY-EIGHT
  AVOIDANCE AND RECOVERY OF CONSTRUCTIVE FRAUDULENT TRANSFER
       UNDER 11 U.S.C. §§ 544, 548 and 550 and APPLICABLE STATE LAW
                       (Against the Kwikclick Defendants)

         491-501. Count Twenty-Eight of the Complaint does not seek any relief against Mr. Jones,

and therefore no response is required. Otherwise, to the extent necessary, Mr. Jones denies all

allegations in Count Twenty-Eight.

                                Reservation of Right to Supplement Defenses

         Mr. Jones hereby gives notice that he intends to reply upon such other and further defenses

as may be discovered, disclosed, or as may become available or apparent during discovery or other

proceedings in this action, and hereby reserves the right to amend this Answer and assert all such

defenses.

 Dated: December 5, 2023                          Respectfully submitted,

                                                  PACHULSKI STANG ZIEHL & JONES LLP

                                                  By: /s/ Steven W. Golden
                                                      Steven W. Golden (DE Bar No. 6807)
                                                      919 N. Market Street, 17th Floor
                                                      Wilmington, DE 19801
                                                      Tel: (302) 652-4100
                                                      sgolden@pszjlaw.com

                                                  SHUMAKER, LOOP & KENDRICK, LLP

                                                  By:       /s/ Steven M. Berman, Esq._____
                                                         Steven M. Berman, Esq.
                                                         Fla. Bar No.: 856290
                                                         sberman@shumaker.com
                                                         bgasaway@shumaker.com
                                                         101 E. Kennedy Blvd., Suite 2800
                                                         Tampa, Florida 33602
                                                         Phone: (813) 229-7600

                                                  Counsel for the Defendant, Tyler B. Jones




DE:4853-7721-5381.1 09244.001                       22
